
*192OPINION.
Muedock:
The sole issue for determination in this proceeding is the value as of March 1, 1913, of a leasehold of theatre property located in the City of Detroit, Mich. The petitioner claims depreciation on such leasehold for the taxable years in question. The respondent denied all value for the leasehold for lack of evidence.
The petitioner produced three witnesses to give opinions as to the value of the lease. The respondent claimed that none of these witnesses was qualified to express an opinion on the question of value. They were all, however, men of experience in their particular fields. Two of them were men of some years’ experience in the theatrical and moving picture business and knew the importance in that business of advantageous locations. The third was ⅝ real estate man gf ⅝ *193considerable number of years’ experience in the City of Detroit, who had dealt in business properties and in long-term leases on such properties. We feel that the opinions of these witnesses are entitled to some weight, although the conclusions arrived at by them as to value are not conclusive.
In view of all the evidence we are of the opinion that the fair market value of the leasehold in question, taking into consideration improvements, was, as of March 1, 1913, $300,000.

Judgment will be entered u/nder Rule 50.

